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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-134 JAM
10
                                                     )
                                                     )
11           Plaintiff,                              )       STIPULATION AND ORDER REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
12
     v.                                              )       UNDER SPEEDY TRIAL ACT
                                                     )
13
     JUAN LOPEZ ALVARADO, et al.,                    )       Date: March 5, 2013
                                                     )       Time: 9:45 a.m.
14
                                                     )       Judge: Honorable John A. Mendez
             Defendants.                             )
15
                                                     )
                                                     )
16
                                                     )
17
             The United States of America through its undersigned counsel, Michael M. Beckwith,
18
     Assistant United States Attorney, together with counsel for defendant Estanislao Garcia, Arturo
19

20   Hernandez, Esq., counsel for defendant Fred Pineda, John R. Manning, Esq., counsel for

21   defendant Cesar Rafael Torres, Christopher R. Cosca, Esq., and counsel for defendant Jose
22
     Mario Medrano, Matthew McCrary Scoble, Esq., hereby stipulate the following:
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          1. By previous order, this matter was set for status conference on January 29, 2013.
24

25
          2. By this stipulation, defendants now move to continue the status conference until March 5,

26   2013 and to exclude time between January 29, 2013 and March 5, 2013 under the Local Codes
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     T-2 (unusual or complex case) and T-4 (to allow defense counsel time to prepare).
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          3. The parties agree and stipulate, and request the Court find the following:


                                                         1
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     a. This is a complex case, including 5,000 pages of discovery as well as three discs of
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 2      recorded phone calls (containing hundreds of recorded conversations), and six co-

 3      defendants (a total of 13 Indicted). Some defendants are currently incarcerated at
 4
        the Butte County Jail in Oroville, California; approximately 120 miles roundtrip from
 5
        downtown Sacramento.
 6

 7
     b. Counsel for the defendants need additional time to review the discovery; review

 8      investigation reports; discuss USSG calculations with defendants; and, review
 9      proposed plea agreements.
10
     c. Counsel for defendants believe the failure to grant a continuance in this case would
11
        deny defense counsel reasonable time necessary for effective preparation, taking into
12

13      account the exercise of due diligence.

14   d. The Government does not object to the continuance.
15
     e. Based on the above-stated findings, the ends of justice served by granting the
16
        requested continuance outweigh the best interests of the public and the defendants in
17
        a speedy trial within the original date prescribed by the Speedy Trial Act.
18

19   f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20      Section 3161(h)(7)(A) within which trial must commence, the time period of January
21
        29, 2013 to March 5, 2013, inclusive, is deemed excludable pursuant to 18 United
22
        States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
23
        Codes T-2 and T-4 because it results from a continuance granted by the Court at
24

25      defendant’s request on the basis of the Court’s finding that the ends of justice served

26      by taking such action outweigh the best interest of the public and the defendant in a
27
        speedy trial.
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                                             2
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     4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2      Speedy Trial Act dictate that additional time periods are excludable from the period within

 3      which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6   Dated: January 24, 2013                                      /s/ Arturo Hernandez
                                                                  ARTURO HERNANDEZ
 7                                                                Attorney for Defendant
 8
                                                                  Estanislao Garcia

 9   Dated: January 24, 2013                                       /s/ John R. Manning
                                                                  JOHN R. MANNING
10                                                                Attorney for Defendant
11
                                                                  Fred Pineda

12   Dated: January 24, 2013                                      /s/ Mathew Scoble
                                                                  MATTHEW MCCRARY SCOBLE
13
                                                                  Attorney for Defendant
14                                                                Jose Mario Medrano

15   Dated: January 24, 2013                                      /s/ Christopher Cosca
                                                                  CHRISTOPHER R. COSCA
16
                                                                  Attorney for Defendant
17                                                                Cesar Rafael Torres

18
     Dated: January 24, 2013                                      Benjamin B. Wagner
19
                                                                  United States Attorney
20
                                                                  by:/s/ Michael Beckwith
21                                                                MICHAEL M. BECKWITH
                                                                  Assistant U.S. Attorney
22

23
                                       ORDER
24
             IT IS SO FOUND AND ORDERED this 25TH day of January, 2013.
25

26                                                        /s/ John A. Mendez
                                                          Hon. John A. Mendez
27                                                        United States District Judge
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